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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: FTX CRYPTOCURRENCY EXCHANGE
COLLAPSE LITIGATION                                                                              MDL No. 3076



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On June 5, 2023, the Panel transferred 5 civil action(s) to the United States District Court for the Southern
District of Florida for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
_F.Supp.3d_ (J.P.M.L. 2023). Since that time, no additional action(s) have been transferred to the Southern
District of Florida. With the consent of that court, all such actions have been assigned to the Honorable K.
Michael Moore.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Southern District of Florida and assigned to Judge Moore.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Southern District of
Florida for the reasons stated in the order of June 5, 2023, and, with the consent of that court, assigned to the
Honorable K. Michael Moore.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Southern District of Florida. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:

     Jun 14, 2023

                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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IN RE: FTX CRYPTOCURRENCY EXCHANGE
COLLAPSE LITIGATION                                                              MDL No. 3076



                     SCHEDULE CTO−1 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


CALIFORNIA NORTHERN

  CAN         3       23−00655     Rabbitte v. Sequoia Capital Operations, LLC et al
  CAN         3       23−00945     Girshovich v. Sequoia Capital Operations, LLC
  CAN         3       23−02222     Cabo et al v. Sequoia Capital Operations, LLC et al
  CAN         3       23−02475     Imbert v. Bankman−Fried et al

NEW JERSEY

   NJ         2       23−00389     LUCKY D et al v. PRAGER METIS LLP et al opposed 6/13/2023
